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        Exhibit A
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BARBARA J. COBUZZI, MBA, CPC, CPC-H, CPC-P, CPC-I, CHCC                                          3 Running Brook Drive
(732) 389-3110                b.cobuzzi@att.net                                                  Tinton Falls, NJ 07724

                                                  WORK EXPERIENCE

12/2007-Present: Consulting Director of Education for The Coding Institute: (www.CodingInstitute.com,
www.audioeducator.com, www.coding911.com, www.codingconference.com )
   Develop, and deliver audio and live educational conferences on coding, compliance and reimbursement topics
   Educate future CPC™’s at The Coding Insitute’s CPC™ Training Camp
   Consulting Editor for three publications, Otolaryngology Coding Alert, Medical Office Billing Alert and Part B Insider
   List Serve Moderator for coding and billing list serves
   Educational product development
   Market and sell live and audio conference sponsorships
   Network, assisting to add to the value of all Eli Research Healthcare brands
   Provide Customer Relations when customers have questions, problems or any other needs

3/2007-Present: Director of Outreach Programs – American Academy of Professional Coding (www.aapc.com )
   Develop, market and deliver e-training and education in billing, coding and compliance for the AAPC e-learning programs,
   including group sales and support to schools and universities
   Evaluate and purchase Blackboard ProSite upgrade for AAPC eLearning
   Network with the 60,000+ members of the organization, providing feedback to the management of the AAPC National Office
   Support the President, Directors, and staff of the AAPC in whatever means as deamed appropriate by the President of the
   AAPC
   Represent the AAPC at trade shows, marketing the professional organization and their services

5/2005-Present: President, CEO, CRN HEALTHCARE SOLUTIONS – Consulting Services to Medical
Practices (www.CRNHealthcareSolutions.com )
             Certified Professional Coder: CPC (AAPC)
             Certified Professional Coder for Hospital and Outpatient Services: CPC-H (AAPC)
             Certified Professional Coder for Third Party Payers: CPC-P (AAPC)
             Certified Healthcare Compliance Consultant: CHCC (HCR)
             Past Member of AAPC National Advisory Board and Executive Board Member
             AAPC Networker of the Year – 1999
   Provide Consulting Services to Medical Practices, providing full practice analysis or more limited reviews, in the areas of
   Process improvement, coding, audits, compliance, revenue cycle management, reimbursement, appeals, looking at the front
   office to the back office and in between.
   Expert witness for Healthcare Attornies in need of coding, reimbursement or process review, audit, opinion and testimony.
   Success includes serving on legal team which assisted in getting surgeon acquitted of many charges of fraud
   On the Editorial Advisory Board and Consulting Editor for Otolaryngology Coding Alert and The Coding Corner part of
   Part B Insider, published by The Coding Institute as well as on the Editorial Advisory Boards of multiple other specialty
   newsletters from The Coding Institute. Moderate the list serves for the Otolaryngology and Part B Insider List Serves for The
   Coding Institute
   Teach for live and audio conferences for The Coding Institute as well as AAPC audio conferences and workshops on many
   topics
   Former Teacher for McVey Associates




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9/93 – 5/2005: President, CEO, CASH FLOW SOLUTIONS, INC. - Medical Billing and Practice Management,
Consulting, Training and Education Services: www.cfs-billing.com
   Started company from ground up, selecting and purchasing computer hardware and software, hiring personnel, establishing
   operations procedures, protocol and controls, and developed procedures for optimum reimbursement for client physicians.
   Increased accuracy of office and surgical coding, Medicare submissions and insurance appeals, optimizing practice income..
   Increased level of patient service and accessibility related to billing and insurance claim issues.
   Increased practice revenues between 10 to 50% within first six months of assuming operation through the unique and value
   added services provided by Cash Flow Solutions.
   Provided start up and billing services for new practices, including orthopaedic surgery, ENT and facial plastic surgery,
   endocrinology, and infectious disease specialties.
   Provided management services on a consulting basis to merged primary care group, coming from 10 individual practices to a
   single merged practice. Included in management services was the design and set up of practice billing office, development of
   manuals addressing procedural issues, personnel policy, operational policy, medical policy and collection procedures.
   Provide ongoing coding training on a national basis, to physicians and billing staffs, including documentation requirements,
   chart audits and design of systems and procedures to aid in the coding process, and improve chart support of coding.
   Provide practice management consulting services, including analyses from studies which can be as limited as basic accounts
   receivable management, to engagements analyzing full practice operations.
   Have provided full Accounts Receivable Management for Primary Care, Endocrinology, General & Vascular Surgery,
   Orthopaedic Surgery, Otolaryngology, Facial Plastic Surgery, Pulmonology & Critical Care, Obstetrics & Gynecology,
   Infectious Disease, GI Neurology, Psychiatry, and Podiatry specialties, optimizing practice income, while reducing
   practice costs, space requirements, and personnel concerns.
   Testified before State Legislature in the consideration and passing of pro physician legislation
   Co-Founder of the Coding and Reimbursement Network (CRN at www.codingandreimbursement.net)
   Consultant to the American Medical Association
   Consultant to CMS (Center for Medicare and Medicaid Services)

1/92 - 9/93: PHYSICIAN’S SERVICES- Medical Billing and Practice Management System
              Vice President
   Collected $70,000 of accounts receivable previously written off by physician’s office through better coding, follow-up with
   insurance companies, and documentation of necessity.
   Sold account to, and set up billing for an Orthopedic Surgeon, providing for collections of A/R, customer service for patients,
   coding of procedures and diagnoses, and all elements of practice management. Increased receipts by over 50%.
   Developed the Operations Manual for the franchise business, and performed sales presentations to new customers.
   Evaluated alternatives and negotiated for a new mailing system needed for 20-30,000 mailings per month. The new system
   increased performance and provided opportunity for generating new business.
   Consulted in the area of Medicare and commercial insurance collections for physicians. Developed and analyzed fee
   schedules.

2/90 - 1/92:   THE CHALLENGE PRINTING COMPANY- Pharmaceutical Labels & Packaging Literature
               Account Representative, Pharmaceutical Labeling Consultant
9/88 - 2/90: METROPOLITAN LIFE- Major Financial Services Organization
              Management Executive Training (MET) Program, Account Representative
2/85 - 2/87: BARR LABORATORIES- Top ranking Generic Pharmaceutical Manufacturer
              Manager, Production and Packaging Planning

   Developed and executed the Barr-Plan for the planning of bulk manufacturing and packaging of finished goods on a PC.

   Scheduled the packaging of finished goods on 9 packaging lines requiring customized labeling for 15 different customers:


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   Reduced backorders 20% despite physical plant capacity limitations and greater than 50% sales growth per year for 4 years.
   Developed and implemented capacity analysis tools on a PC.

   Reduced raw material inventory from $3 to $2 million via realistic planning and execution.

   Implemented a cycle counting program which increased inventory accuracy from 60% to 95%.

   Managed the Packaging Department of 100 employees when the Manager position was vacant.

1/84 - 2/85: COOPERS AND LYBRAND- Management Consulting Services
              Senior Consultant, Manufacturing and Materials Practice
               Consulted for major clients, including NYNEX and Hoffman LaRoche Pharmaceuticals

6/77 to 9/78: BRISTOL MYERS, Clairol Division- Major Personal Care Products
              Manufacturer, Staff Industrial Engineer, Management Training Program


                                                       EDUCATION

                               New York University                                      3.8 average
                               Masters of Business Administration                       6/82
                               Rensselaer Polytechnic Institute                         3.7 average
                               Bachelor of Science in Management Systems                5/77
                               American Academy of Procedural Coders
                               Independent Study for Certified Procedural
                                    Coder Exam (CPC)                                    4/97
                               Oliver Wight’s MRP II Educational Programs               1982-83

                                          PROFESSIONAL AFFILIATIONS

      Member of American Academy of Professional Coders (AAPC) as a Certified Professional Coder
                        Passed extensive and comprehensive exam and experience
                        requirements to attain designation of CPC,
                        Certified Professional Coder                                  6/97
                        Passed extensive and comprehensive exam and experience
                        Requirements to attain designation of CPC-H, Certified Professional Coder for
                        Hospital and Outpatient Services                3/00
                        Passed extensive and comprehensive exam and experience
                        Requirements to attain designation of CPC-H (Certified Professional
                        Coder for Third Party Payers                                  4/06
                   Member of the National Advisory Board of the AAPC 2001-Present
                   Member of the Executive Board of the AAPC            2003-Present
             AAPC Professional Medical Coding Curriculum Instructor (CPC-I)             4/07
Member of Healthcare Compliance Resources (HCR) as a Certified Healthcare Compliance Consultant
                        Attended extensive four day course and passed an extensive four hour / 150 question
                        exam to attain certification as a CHCC from HCR        5/06




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                   Former member of Healthcare Billing and Management Assocation (HBMA)
                    Consulting Editor of The Coding Institute’s Otolaryngology Coding Alert
                               Listed in Who’s Who in American Business 2000
    Associate member and Speaker at for the American Academy of Otolaryngology / Head and Neck Surgeons
                   Member and Speaker for Association of Otolaryngology Administrators
        Speaker for the College of Osteopathic Opthmologists, Otolaryngoligists, Head and Neck Surgerons
Speaker for the Florida, New Jersey, Michigan, Minnesota and Massachusetts Societies of Otolaryngology / Head and
                                                  Neck Surgery
                   Speaker for American Academy of Professional Coders National Conferences
                            Speaker for the New Jersey Society of Medical Assistants
                                 Speaker for the Physician’s Viewpoint Network
                                           Speaker for the NJ MGMA
                         Speaker for University of Miami Department of Otolaryngology
        Member and Speaker for Professional Association of Health Care Office Managers (PAHCOM)
     Author of the American Medical Association Advocacy Department’s “What is a medical billing service”
                  Contributing Editor for “How to Get Paid” published by Opus Communications
                         Adjunct Faculty member of Mercy College, teaching Economics
                              Listed in Who’s Who of Women Executives- 1989-90
                             Beta Gamma Sigma, Business School Honorary Society
                        Epsilon Delta Sigma- Management Engineering Honorary Society
                            Expert Witness for both third party payers and physicians

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